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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PHILIP CHARVAT, on behalf of himself             )
and others similarly situated,                   )
                                                 )
               Plaintiff,                        )
                                                 )           No. 12-cv-05746
       v.                                        )
                                                 )           Judge Andrea R. Wood
ELIZABETH VALENTE, RESORT                        )
MARKETING GROUP, INC., CARNIVAL                  )
CORPORATION & PLC, ROYAL                         )
CARIBBEAN CRUISES, LTD., and NCL                 )
(BAHAMAS) LTD.,                                  )
                                                 )
               Defendants.                       )

                                             ORDER

       This Court granted the parties’ joint motion for approval of a class settlement on
10/25/2019 [728]. Following that decision, objecting class members filed notices of appeal to the
Seventh Circuit [731], [735]. Class Counsel, Objectors-Appellants, and Defendants have since
reached a settlement regarding the appellate issues and have jointly moved pursuant to Federal
Rule of Civil Procedure 62.1 for an indicative ruling stating whether, upon remand, this Court
would approve the class settlement as amended. For the reasons stated in the accompanying
Statement, the joint motion for an indicative ruling [739] is granted, and the Court states it would
approve the amended settlement agreement upon remand. The Clerk is directed transmit a copy of
this Order to the Court of Appeals.

                                          STATEMENT

        Plaintiff Philip Charvat brought this class action lawsuit against Defendants Resort
Marketing Group, Inc., its principal Elizabeth Valente, Carnival Corporation & PLC, Royal
Caribbean Cruises, Ltd., and NCL (Bahamas) Ltd., alleging violations of the Telephone
Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. The complaint alleges that Defendants
used prerecorded telemarketing calls to advertise travel services to class members without their
consent. After years of litigation, the parties reached a settlement for which they sought this
Court’s approval. (See Dkt. No. 682.) As required under Federal Rule of Civil Procedure 23(e),
this Court held a fairness hearing and subsequently issued a written opinion approving the
settlement on October 28, 2019. (Dkt. No. 727.) In approving the settlement, the Court also
denied requests by certain objecting class members for their own incentive awards and payment
of their attorneys’ fees. Those objectors have appealed that decision to the Court of Appeals for
the Seventh Circuit. (Dkt. Nos. 731, 735.) Now the parties have negotiated an amended settlement
that would resolve the objectors’ claims. As an appeal is pending, however, this Court does not
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have jurisdiction to consider and approve the amended settlement. Accordingly, the parties have
filed the instant motion pursuant to Federal Rule of Civil Procedure 62.1 seeking an indicative
ruling stating whether this Court would approve their amended settlement agreement upon
remand. (Dkt. No. 739.)

        The Court concludes that it would grant the requested relief and approve the amended
settlement if the case were remanded for that purpose. In reaching that conclusion, the Court
notes its belief that the amended settlement may be approved pursuant to Rule 23(e) without
distributing a new round of notice to class members and holding another fairness hearing.
If any proposed amendments to a class settlement agreement are “material,” Seventh Circuit
precedent requires a new round of class notice and a new Rule 23(e) hearing prior to approval.
Pearson v. Target Corp., 893 F.3d 980, 986 (7th Cir. 2018). That may be the case “when class
counsel seeks to bargain away the right to enforce portions of a previously entered settlement.”
Id. (quoting Keepseagle v. Vilsack, 102 F. Supp. 3d 306, 313–14 (D.D.C. 2015)). But courts
generally do not require new notice or a new hearing when the proposed changes are solely
favorable to class members. See, e.g., Snyder v. Ocwen Loan Servicing, LLC, No. 14 C 8461
consolidated with No. 16 C 8677, 2019 WL 2103379, at *9 (N.D. Ill. May 14, 2019).

        The amended settlement here proposes two changes to the previously-approved
agreement. First, settlement fund administrators will distribute funds remaining due to checks not
being cashed or otherwise deemed null and void to class members who previously cashed their
settlement checks if those class members would receive at least $2.50, rather than the previously
approved amount of $5.00. (Dkt. No. 739-2.) Second, Class Counsel and Defendants Carnival
Corporation & PLC, Royal Caribbean Cruises, Ltd., and NCL Bahamas Ltd. will together pay
$50,000 to counsel for objectors Mark Dunlap, Timothy Johnson, Evan E. Shelton, and Jonathan
Hilton for fees related to their appeal. Crucially, these payments would not come from the net
settlement fund.

         A lower threshold dollar amount for distributions of remaining settlement funds benefits
all class members, since it would provide more class members with a second round of payments.
The proposed fees to objectors’ counsel would not impact class members at all, as Class
Counsel’s payment would come out of their own fee award and Defendants’ payment from funds
outside the settlement amount. Neither change to the settlement impacts the class members’
bargained-for rights. Thus, if the case is remanded, the Court will not require a new round of class
notice or conduct another fairness hearing prior to issuing a ruling approving the amended
settlement.

               The Court finds that the proposed amendments do not impact its prior reasoning
approving the settlement as fair. Additionally, a speedier settlement and payout is in all class
members’ interests. Therefore, the Court would approve the proposed amended settlement upon
remand.


Dated: February 27, 2020                             __________________________
                                                     Andrea R. Wood
                                                     United States District Judge




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